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                         DEFENDANT STATUS SHEET
                                      (One for each defendant)



                                         I.     CASE STATUS

Name of Defendant: ALAN GoMEZ-MARENTES

Has defendant had initial appearance in this case?          f   v.t         ENo
         MJ                       CR     20-092 JCC-1



                                   II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I   Continue Conditions of Release


     f   Continue Detention

     !   f.*porary   Detention, a detention hearing has been scheduled for


                                      III.     ARRATGNMENT

     I   Wuount to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)

     !   Summons to be Issued for Appearance on

               Defendant's Address:

     Z t.tt., to Defense Counsel for Appearance         on August t3,2020

               Defense Attorney's Name and address: Bob Goldsmith




The estimatedtrialtime     is 5     days.
                                                                                  (Revised March 2018)
               Case 2:20-cr-00092-JCC Document 152-1 Filed 08/06/20 Page 2 of 20




                            DEFENDANT STATUS SHEET
                                          (One for each defendant)


                                            I.       CASE STATUS

Name of Defendant: ruAN ANToNIo GoNZALEZ-cARILLo

Has defendant had initial appearance in this          case? [ V.t       MNo
          MJ                          cR    20-092   lcc-2


                                      II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     !    Continue Conditions of Release

     !    Continue Detention

     []f.-porary        Detention, a detention hearing has been scheduled for


                                          III.    ARRAIGNMENT

     l7   Wurrunt to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I    Summons to be Issued for Appearance on

                   Defendant's Address:

     E    rctt.,   to Defense Counsel for Appearance on

                   Defense Attorney's Name and address:




The estimated trial time     is s      days.
                                                                                (Revised March 2018)
               Case 2:20-cr-00092-JCC Document 152-1 Filed 08/06/20 Page 3 of 20




                          DEFE,NDANT STATUS SHEET
                                        (One for each defendant)



                                           I.     CASE STATUS

Name of Defendant: LUIS ARTURo MAGANA-RAMIREZ

Has defendant had initial appearance in this       case? f]V.t         ENo
          MJ                        cR     20-092 JCC-3



                                     II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     I    Continue Detention

     f,   f.rnporary Detention,   a detention hearing has been scheduled   for gl7 9:00 am / Weinberg


                                         III.    ARRAIGNMENT

     []   Wur.unt to Issue (If so, please complete Defendant Arrest Waruant Info Sheet)


     I    Summons to be Issued for Appearance on

                 Defendant's Address:

     Yf"tt"rto     Defense Counsel for Appearance on August l3,20zo

                 Defense Attorney's Name and address: Michael Martin




The estimated trial time    is 5      days.
                                                                                    (Revised March 2018)
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                           DE,FENDANT STATUS SHEET
                                         (One for each defendant)



                                           I.     CASE STATUS

Name of Defendant: JOSE ELIAS BARBOSA

Has defendant had initial appearance in this       case? [ Vrt         ENo
         MJ                          cR    20-092 JCC-4



                                     II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I   Continue Conditions of Release


     !   Continue Detention

     I   f.*porary     Detention, a detention hearing has been scheduled for


                                          III.   ARRAIGI{MENT

     M   Wanant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)

     I   Srr--ons to be Issued for Appearance       on

                  Defendant's Address:

     I   rctt.,   to Defense Counsel for Appearance on

                  Defense Attorney's Name and address:




The estimated trial time     is 5     days.
                                                                               (Revised March 20 l8)
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                        DEFENDANT STATUS SHEET
                                      (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant:     JOSE   DANIEL ESpINozA

Has defendant had initial appearance in this case?           []v.t       ENo
         MJ                        CR     20-092 JCC-5



                                    II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I   Continue Conditions of Release


     f   Continue Detention

     I   frrrporary Detention,   a detention hearing has been scheduled for



                                       III.     ARRAIGNMENT

     I   Warrant to Issue (If so, please complete Defendont Arrest Warrant Info Sheet)


     I   Summons to be Issued for Appearance on

               Defendant's Address:

     V f"tt"rto Defense Counsel for Appearance           on August l3,2o2o

               Defense Attorney's Name and address: Scott Engelhard




The estimated trial time   is 5      days.
                                                                               (Revised March 2018)
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                         DEFENDANT STATUS SHEE,T
                                      (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: ESTEFHANy coREA MENDOzA

Has defendant had initial appearance in this case?       f   ves      INo
         MJ                         CR    20-092 JCC-6



                                    II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     f   Continue Conditions of Release


     I   Continue Detention

     I   f.-porary   Detention, a detention hearing has been scheduled for


                                       III.     ARRAIGNMENT

     I   Wurrnt to Issue (If   so, please complete Defendant Aruest Waruant Info Sheet)


     !   Srm-ons to be Issued for Appearance on

               Defendant's Address:

     Yfrtt"rto    Defense Counsel for Appearance on August t3,2ozo

               Defense Attorney's Name and addresSl paula Olson




The estimated trial time   is 5      days.
                                                                                (Revised March 2018)
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                         DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                         I.     CASE STATUS

Name of Defendant: ADRIAN IZAZAGA-MARTINEZ

Has defendant had initial appearance in this case?       f   v.t     ENo
          MJ                       CR    20-092 TCC-T



                                   II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     fi   Continue Detention

     flf.-porary Detention, a detention hearing has been scheduled for

                                        III.   ARRAIGNMENT

     I    Wuount to Issue (If so, please complete Defendant Arrest Waruant Info Sheet)

     !    Summons to be Issued for Appearance on

                Defendant's Address:

     Vt"t"rto     Defense Counsel for Appearance on August t3,2020

                Defense Attorney's Name and address: Phil Brennan




The estimatedtrialtime     is 5     days.
                                                                               (Revised March 2018)
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                      DEFENDANT STATUS SHEET
                                   (One for each defendant)



                                        I.     CASE STATUS

Name of Defendant: JORGE MONDRAGON

Has defendant had initial appearance in this    case? f V.t        INo
                                  cR    20-092 JCC-8



                                  II.        CUSTODIAL STATUS

If defendant had initial appearance, please check one of the following:

  I   Continue Conditions of Release


  !   Continue Detention

  f, f"-p oraryDetention,    a detention hearing has been scheduled   for   8/7 t0:00



                                       III.   ARRAIGNMENT



  I   Summons to be Issued for Appearance on

            Defendant's Address:

  Vf"tt"rto    Defense Counsel for Appearance on August 13,2020

            Defense Attorney's Name and addresSl Tom Coe




The estimated trial time   is 5    days.
                                                                                 (Revised March 2018)
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                        DEFENDANT STATUS SHEE,T
                                       (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: BENJAMIN FUENTES

Has defendant had initial appearance in this case?       Iv..        ENo
       MJ                          CR     20-092 JCC-9



                                    II.        CUSTODIAL STATUS

If defendant had initial   appearance, please check one of the following:


  I    Continue Conditions of Release


  I    Continue Detention

  !    f.-porary    Detention, a detention hearing has been scheduled for


                                       III.     ARRAIGNMENT

  |7   V/uourt to Issue (If so, please complete Defendant Aruest Warrant Info Sheet)

  I    Summons to be Issued for Appearance on

                Defendant's Address:

  E    rctt..   to Defense Counsel for Appearance on

                Defense Attorney's Name and address:




The estimated trial time   is 5      days.
                                                                             (Revised March 2018)
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                          DEFENDANT STATUS SHEET
                                        (One for each defendant)



                                           I.     CASE STATUS

Name of Defendant: LUIS ZAvALZA-SANCHEZ

Has defendant had initial appearance in this case?        flv.'       ENo
          MJ                         cF.20-922 JCC-I0



                                     II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     f    Continue Detention

     I    f.rnporary Detention,   a detention hearing has been scheduled   for


                                        III.     ARRAIGNMENT

     lT   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I    Summons to be Issued for Appearance on

                 Defendant's Address:

     @ f"tt"rto     Defense Counsel for Appearance on August 13,20zo

                 Defense Attorney's Name and addresSt Brent Hart




The estimated trial time    is s      days.
                                                                                 (Revised March 2018)
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                            DEFENDANT STATUS SHE,ET
                                          (One for each defendant)



                                            I.     CASE STATUS

Name of Defendant: ALysHA JoNES

Has defendant had initial appearance in this        case? [ V.t         ENo
                                     cR     20-092 JCC-I1



                                      II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     I    Continue Detention

     !    f.-porary     Detention, a detention hearing has been scheduled for


                                           III.   ARRAIGNMENT

     fZ   Wuount to Issue (If so, please complete Defendant Arrest Warrant      ldo   Sheet)


     I    Summons to be Issued for Appearance on

                   Defendant's Address:

     E    rctt.,   to Defense Counsel for Appearance on

                   Defense Attorney's Name and address:




The estimated trial time      is 5     days.
                                                                                      (Revised March 20   l8)
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                          DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: ARMANDo FIERRo poNCE

Has defendant had initial appearance in this case?       Iv.t         MNo
          MJ                       CR 20-092 JCC-12


                                    II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     I    Continue Detention

     !    f.-porary   Detention, a detention hearing has been scheduled for


                                       III.     ARRAIGNMENT

     [Z   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I    Su--ons to be Issued for Appearance      on

                Defendant's Address:

     E t.tt.. to Defense Counsel for Appearance on
                Defense Attorney's Name and address:




The estimated trial time    is 5     days.
                                                                                (Revised March 2018)
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                        DEFENDANT STATUS SHEET
                                      (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: AMANDA MEyER

Has defendant had initial appearance in this      case? f V.t        INo
                                  cR     20-092-JCC-13



                                   il.         CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     f   Continue Conditions of Release

     I   Continue Detention

     []f.-porary    Detention, a detention hearing has been scheduled for


                                         ilI.   ARRAIGNMENT

     l   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)

     I   Summons to be Issued for Appearance on

               Defendant's Address:

     Vrctt"rto    Defense Counsel forAppearance on August t3,20zo

               Defense Attorney's Name and addresSl Teymur Askerov/Chris Black




The estimated trial time   is 5     days.
                                                                                 (Revised March 201 8)
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                          DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                           I.     CASE STATUS

Name of Defendant: MICIIAEL ANDREw wooD

Has defendant had initial appearance in this case?         Ives       ZNo
                                     cR    20-092 JCC-L4



                                     II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     I    Continue Detention

     I    f.-porary   Detention, a detention hearing has been scheduled for


                                          III.   ARRAIGNMENT

     fl   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I    Summons to be Issued for Appearance on

                Defendant's Address:

     E    rctt., to Defense   Counsel for Appearance on

                Defense Attorney's Name and address:




The estimated trial time      is s    days.
                                                                                (Revised March 201 8)
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                         DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                         I.     CASE STATUS

Name of Defendant: LUIS cASTILLo-BARRAGAN

Has defendant had initial appearance in this case?           f   v.t     ENo
          MJ                       CR    20-092 JCC-15



                                   II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I    Continue Conditions of Release


     f,   Continue Detention

     []f.*porary     Detention, a detention hearing has been scheduled for


                                       III.    ARRAIGNMENT

     l    Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I    Summons to be Issued for Appearance on

                Defendant's Address:

     M t.tt., to Defense Counsel for Appearance          on August t3,2020

                Defense Attorney's Name and address: James Feldman




The estimated trial time   is s      days.
                                                                                (Revised March 2018)
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                         DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                          I.     CASE STATUS

Name of Defendant: ppp,qlN LUNA-RODRIGUEZ

Has defendant had initial appearance in this case?        !v.t         Mxo
         MJ                         CR    20-092 JCC-16



                                    II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I   Continue Conditions of Release


     I   Continue Detention

     f f.-p     oraryDetention, a detention hearing has been scheduled for Arrested in California


                                         III.   ARRATGNMENT

     l   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I   Sum*ons to be Issued for Appearance on

                Defendant's Address:

     M t.tt.,   to Defense Counsel for Appearance on August t3,2020

                Defense Attorney's Name and address:




The estimated trial time   is 5      days.
                                                                                  (Revised March 20 l8)
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                           DEFENDANT STATUS SHEET
                                         (One for each defendant)



                                           I.      CASE STATUS

Name of Defendant: rutIAN pINEDA CASILLAS

Has defendant had initial appearance in this case?
                                                            !v.t      Zxo
         MJ                         cR    20-092   ICC-|7


                                    II.         CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     I   Continue Conditions of Release


     I   Continue Detention

     !   f..nporary Detention,   a detention hearing has been scheduled   for


                                         IIT.    ARRAIGNMENT

     f   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I   Summons to be Issued for Appearance on

                  Defendant's Address:

     E   rctt..   to Defense Counsel for Appearance on

                  Defense Attorney's Name and address:




The estimated trial time    is s     days.
                                                                                (Revised March 2018)
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                       DEFENDANT STATUS SHEET
                                    (One for each defendant)



                                       I.     CASE STATUS

Name of Defendant: BLANCA GABRIELLA MEDINA

Has defendant had initial appearance in this case?
                                                       f   v.t      ENo
      MJ                          cR   20-092 JCC-I8



                                  U.        CUSTODIAL STATUS

If defendant had initial appearance, please check one of the following:

  f   Continue Conditions of Release

  I   Continue Detention

  I   f.-porary    Detention, a detention hearing has been scheduled for


                                    ilI.     ARRAIGI{MEI{T



  I   Summons to be Issued for Appearance on

             Defendant's Address:

  V   yrtt"rto   Defense Counsel for Appearance on August 13,2020

             Defense Attorney's Name and addresSl Nicholas Marci




The estimated trial time   is 5   days.
                                                                           (Revised March 2018)
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                          DEFENDANT STATUS SHEET
                                       (One for each defendant)



                                           I.     CASE STATUS

Name of Defendant: RUIH GoMEZ-MARENTES

Has defendant had initial appearance in this ease?
                                                         Ives         ENo
          MJ                        cR    20-92JCC-1e



                                    il.      CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     f,   Continue Conditions of Release


     fl   Continue Detention

     I    f.*porary   Detention, a detention hearing has been scheduled for


                                          III.   ARRAIGNMENT

     I    Wanant to Issue (If so, please complete Defendant Arrest Warrqnt Info Sheet)

     !    Summons to be Issued for Appearance on

                Defendant's Address:

     Vfrtt"rto    Defense Counsel for Appearance on August 13,2020

                Defense Attorney's Name and address: peter Carniel




The estimated trial time   is s      days.
                                                                               @evised March 2018)
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                           DEFENDANT STATUS SHEET
                                          (One for each defendant)



                                              I.       CASE STATUS

Name of Defendant: ADRIAN SIMS

Has defendant had       initial   appearance in this    case? f V.t         Exo
           MJ                           cR    20-092   lcc-20


                                        II.        CUSTODIAL STATUS

If   defendant had initial appearance, please check one of the following:


     !     Continue Conditions of Release

     f,    Continue Detention

     I     f.-porary   Detention, a detention hearing has been scheduled for


                                           III.     ARRAIGNMENT

     [-l   Warrant to Issue (If so, please complete Defendant Arrest Warrant Info Sheet)


     I     Summons to be Issued for Appearance on

                 Defendant's Address:

     E t.tt., to Defense Counsel for Appearance             on August t3,2020

                 Defense Attorney's Name and address: Lisa Mulligan




The estimated trial time     is s        days.
                                                                                  (Revised March 2018)
